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UNTITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES

Plaintiff,
Vv. Case No. 19-CR-374 (DAB)
MICHAEL J. AVENATTI MOTION FOR
ADMISSION
PRO HAC VICE
Defendant.

Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the
Southern and Eastern District of New York, I, H. Dean Steward, hereby move this Court
for an Order for admission to practice Pro Hac Vice to appear as counsel for defendant

Michael J. Avenatti in the above captioned action.

I am in good standing of the bars of the states of California and Hawaii and there
are no pending disciplinary proceedings against me in any state or federal court. I have

never been censured, suspended, disbarred or denied admission by any court. I have

attached the affidavit pursuant to local Rule 1.3
Dated: June 17, 2019 FEES

Applicant's Signature

a

Applicant's Name: H. Dean Steward
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Firm Name: H. Dean Steward, APC
Address: 107 Avenida Miramar, Ste. C
City/State/Zip: San Clemente, CA 92672
Phone/Fax: 949-481-4900 949-406-6753

E-mail: deansteward7777@gmail.com
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AFFIDAVIT OF COUNSEL

I, H. Dean Steward, having been duly sworn, state and declare:

1. I seek Pro Hac Vice admission in the Southern District of New York for US. v. Michael J

Avenatti 19-CR-375-DAB.
2. [am a member in good standing in the bars of California and Hawaii.
3. Ihave never been convicted of a felony.

4. I have never been censured, suspended, disbarred or denied admission or readmission by any

court, and

5. There are no disciplinary proceedings presently against

Dated: june ©. 2019
7 FO ee

H. Dean Steward

State of California County of Orange. Subscribed and sworn to (or affirmed) before me on this

\zih day of 7\Uyew_, 2019.

H. Dean Steward, proved to me on the basis of satisfactory evidence to be the person who

i

appeared before me. (Seal) Signature SN

TONY ASMAR JR.

Natary Public - California
Orange County

Commission # 2241140

My Comm. Expires May 4, 2022

A NOTARY PUBLIC OR OTHER OFFICER
COMPLETING THIS CERTIFICATE VERIFIES
ONLY THE IDENTITY OF THE INDIVIDUAL
WHO 3!GNED THE DOCUMENT TO WHICH
THIS CERTIFICATE iS ATTACHED, AND NOT

3 THE TRUTHFULNESS, ACCURACY, OR
VALIDITY OF THAT DOCUMENT.

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CERTIFICATE OF SERVICE
IT IS HEREBY CERTIFIED THAT:

I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
age. My business address is 107 Avenida Miramar, Ste. C., San Clemente, CA
92672. I am not a party to the above entitled action. On April 15, 2016, I have

caused service of the defendant's:
MOTION FOR ADMISSION PRO HAC VICE

on the following parties electronically by filing the foregoing with the Clerk of the

District Court using its ECF system, which electronically notifies counsel for that
party.
AUSA's Matthew Podolsky; Robert Sobelman

I declare under penalty of perjury that the foregoing is true and correct.

DATED: JUNE 17,2019 — s./H. Dean Steward

H. Dean Steward

